 Case No. 1:17-cr-00168-CMA       Document 112-1 filed 09/20/19 USDC Colorado pg
                                           1 of 2
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                           UNITED STATES COURT OF APPEALS
                               FOR THE TENTH CIRCUIT
                                OFFICE OF THE CLERK
                                 Byron White United States Courthouse
                                          1823 Stout Street
                                       Denver, Colorado 80257
                                           (303) 844-3157
   Elisabeth A. Shumaker                                                            Chris Wolpert
   Clerk of Court                     September 20, 2019                       Chief Deputy Clerk




   Ms. Ann Marie Taliaferro
   Brown, Bradshaw & Moffat
   10 West Broadway
   Suite 210
   Salt Lake City, UT 84101-0000

   RE:       18-1217, United States v. McClaflin
             Dist/Ag docket: 1:17-CR-00168-CMA-1

   Dear Counsel:

   Attached is a copy of the opinion of the court issued today in this matter. The court has
   entered judgment on the docket pursuant to Fed. R. App. P. Rule 36.

   Pursuant to Fed. R. App. P. 40(a)(1), any petition for rehearing must be filed within 14
   days after entry of judgment. Please note, however, that if the appeal is a civil case in
   which the United States or its officer or agency is a party, any petition for rehearing must
   be filed within 45 days after entry of judgment. Parties should consult both the Federal
   Rules and local rules of this court with regard to applicable standards and requirements.
   In particular, petitions for rehearing may not exceed 3900 words or 15 pages in length,
   and no answer is permitted unless the court enters an order requiring a response. If
   requesting rehearing en banc, the requesting party must file 6 paper copies with the clerk,
   in addition to satisfying all Electronic Case Filing requirements. See Fed. R. App. P.
   Rules 35 and 40, and 10th Cir. R. 35 and 40 for further information governing petitions
   for rehearing.
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                                           2 of 2
Appellate Case: 18-1217      Document: 010110231287 Date Filed: 09/20/2019 Page: 2
   Please contact this office if you have questions.

                                               Sincerely,



                                               Elisabeth A. Shumaker
                                               Clerk of the Court



   cc:       James C. Murphy




   EAS/at




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